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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                      August 4, 2021

By e-mail

Allen H. Orenberg
aorenberg@orenberglaw.com

Maria Jacob
Maria_Jacob@fd.org

Christopher Black
chris@blacklawseattle.com

                Re:    Craig Bingert, Isaac Sturgeon, and Taylor Johnatakis
                       Preliminary Discovery for Case Number 21-cr-91

Dear Counsel:

I have uploaded preliminary discovery to USAfx. As we receive and review additional discovery,
it will be uploaded to USAfx. When our investigation and review is complete, I will provide a
more formal, bates stamped production which will include items such as serialized 302s and
responsive search warrants returns.

For now, I have included below most (if not all) of the warrant affidavits we have sought thus far
so that you have an idea of the universe of discovery. Returns will not be provided until they’ve
been properly reviewed for responsive materials. If, however, the search warrant return belongs to
your client, then you will receive a full copy. The difference is that I will only provide co-
defendants with a copy of what is responsive.

To protect identities and privacy, I have redacted the following: day and month of birthdays, street
addresses, names of witnesses and tipsters. Because some tipsters misidentify the “BOLO”
photographs, and because co-defendants will have copies of information pertaining to other co-
defendants, I believe this is especially prudent.
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Additionally, law enforcement officers and agents sometimes use sensitive and confidential
databases for searches, such as CLEAR and NCIC. Where the documents involve law enforcement
search results utilizing these databases (such as CLEAR or NCIC), I have marked those items
“highly sensitive” ([HS]). Where the information is obviously personal (such as family,
employment, or vehicle information), I have marked those items “highly sensitive” ([HS]).

Similarly, where the documents involve sensitive internal FBI databases, such as documentation
involving “TTK” and/or “FACES” (facial recognition) searches, I have marked those items
“highly sensitive” ([HS]). This is an important distinction. There are many instances where
witnesses and tipsters were interviewed. In general, I’ve made efforts to redact and provide that
information without marking it “sensitive” or “highly sensitive.” However, if the report was
uploaded into “TTK” or involved a facial recognition hit, I have marked that information
“sensitive.”

I have organized the folders by Defendant. Where items are “sensitive” or “highly sensitive,” I
have placed those files in a separate folder, also organized by defendant.

You will see that there were several tipsters. I’ve labeled with “misidentification” any tip that did
not resolve to a defendant in this case. I’ve heavily redacted all information for any witness or
tipster (regardless of accuracy of information provided). My intent with redactions is to protect
identities and is to avoid “sensitive” and “highly sensitive” designations where possible. Please
note that the tipster designations (such as “Tipster 3”) aren’t necessarily the same tipsters that
you’ll see in warrant affidavits. The numbering convention is different.

Documents uploaded include the serial number (“[3],” for example). Where the serial includes
several attachments, I have marked those attachments with an “A” (so the attachment will be
labeled “[3A]”). Hopefully this will help you both check what you’ve got against the list below
and also know what you already have when the more formal bates stamped discovery is ready.

If you have any questions, issues, or concerns with how I’ve marked (or not marked) documents,
please let me know and I’m happy to revisit.

The following items were uploaded to USAfx on or about August 4, 2021 1:

CRAIG BINGERT

    Phone extraction                    Cellebrite report (606 pages)

    Historical Cell Cite Records        2 PDFs, 2 emails, and 2 excel sheets




1
  These items have not been fully reviewed for responsiveness and therefore are only being provided to counsel for
the specific defendant to which the discovery relates.
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ISAAC STURGEON

Facebook and Instagram         Isaac.lawncare
Accounts                       PDF file (7984 pages), along with zip file containing all
                               linked media.

                               Isaac.sturgeon.58
                               PDF file (239 pages), along with zip file containing all linked
                               media.


                               Isaaclawncare (Instagram)
                               PDF file (3094 pages), along with zip file containing all
                               linked media.

Historical and Prospective     Location data (two excel sheets and one weblink)
Cell Site Records              Call detail records (9 PDF files and 8 text files)

Phone extraction               Full copy of extraction and report provided via external hard
                               drive


TAYLOR JOHNATAKIS

Facebook and Instagram         peasantpod
Accounts                       PDF file (228 pages), along with all linked media.

                               Taylor-johnatakis
                               PDF file (3771 pages), along all linked media.

                               taylorjohnatakis (Instagram)
                               PDF file (4905 pages), along with zip file containing all
                               linked media.

Historical and Prospective     Location data (two excel sheets and one weblink)
Cell Site Records              Call detail records (9 PDF files and 8 text files)

Parler Account                 21 chat logs, 207 photos, and 119 videos

Twitter Account                Gone4months (changed from peasantsPod)
                               Text files, along with all linked media.

Historical Cell Cite Records   2 PDFs and 3 text files


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The following items were uploaded to USAfx on or about May 4, 2021:

CRAIG BINGERT


 Serial 1         Case Opening (2 pages)

 Serial 2         Documents Associated with BOLO 105 (1 page)

                  Attachment: Criminal History (5 pages) [HS]

                  Attachment: Screenshot of Work History (1 photo) [HS]

                  Attachment: PA Department of Labor Employment Report (1 page) [HS]

                  Attachment: Bingert DMV Information (1 page) [HS]

                  Attachment: Screenshot of Linkedin (1 photo) [HS]

 Serial 3         Criminal Complaint and Arrest Warrant (1 page)

                  Attachment: Statement of Facts (6 pages)

                  Attachment: Complaint (1 page)

                  Attachment: Arrest Warrant (2 pages)

 Serial 4         Seeking Information BOLO 105 (1 page)

                  Attachment: Collage (1 page)

 Serial 5         MPD BWC Related to Bingert (2 pages)

                  Attachment: BWC Export Documentation (1 page)

 Serial 6         Open and Assign Case (1 page)

 Serial 7         Phone Seized (1 page)

 Serial 8         TTK FACE Search (1 page) [S]

                  Attachment: FACE Search Report (2 pages) [S]

 Serial 9         Arrest of Bingert (3 pages)

                  Attachment: Executed Arrest Warrant (11 pages)


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               Attachment: Consent to Search (1 page)

Serial 10      Indictment (2 pages)

               Attachment: Indictment (5 pages)

Serial 11      Phone Transfer to WFO (2 pages)

Serial 12      TTK FACES Search (3 pages) [S]

               Attachment: FACES Report - Misidentification (10 pages) [S]

               Attachment: FACES Report (1 page) [S]

Serial 13      T-Mobile Search Warrant (1 page)

               Attachment: Application to Seal Search Warrant (8 pages)

               Attachment: Search Warrant (41 pages)

               Attachment: Search Warrant Served (10 pages)

Serial 14      TTK FACES Search (3 pages) [S]

               Attachment: FACES Report (1 page) [S]

               Attachment: FACES Report – Misidentification (6 page) [S]

Serial 15      T-Mobile Search Warrant Served (2 pages)

               Attachment: Search Warrant (10 pages)

               Attachment: T-Mobile Rejection (1 page)




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ISAAC STURGEON


Serial 1    Case Opening (2 pages)

Serial 2    Seeking Information BOLO 104 (1 page)

            Attachment: Collage (1page)

Serial 3    TTK FACES Request (1 page) [S]

            Attachment: TTK FACES Request (2 pages) [S]

Serial 4    Records and Social Media Checks (1 page)

            Attachment: Records Check (4 pages) [HS]

            Attachment: Instagram (1 photo)

            Attachment: Facebook – Guns (1 photo)

            Attachment: Passport Application (1 page) [HS]

            Attachment: Sturgeon NCIC (3 pages) [HS]

            Attachment: Scroll Through Instagram (1 video)

Serial 5    Preservation Requests (2 pages)

Serial 6    Tip Received and Entered into TTK (2 pages) [S]

            Attachment: TTK Report for Tip Received (4 pages) [S]

Serial 7    Anonymous Tip 1 (4 pages)

            Attachment: Tip 1 Report (5 pages)

Serial 8    Interview of Tipster 2 (3 pages)

Serial 9    Interview of Tipster 3 (1 page)

            Attachment: Instagram Screenshot From Tipster 3 (1 page)

Serial 10   Database Searches (3 pages) [HS]

            Attachment: Social Media Screenshot – Officer Hurt (1 photo)


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            Attachment: Social Media Screenshot – Instagram (1 photo)

            Attachment: Social Media Screenshot – Refused to Reject (1 photo)

            Attachment: Sturgeon NCIC (3 pages) [HS]

            Attachment: Social Media Screenshot – Grid of Instagram Photos (1 photo)

            Attachment: Social Media Screenshot – No Shirt with Gun (1 photo)

            Attachment: Social Media Screenshot – Madness (1 photo)

            Attachment: Social Media Screenshot – WW2 (1 photo)

Serial 11   Tip 4 -Misidentification (4 pages)

            Attachment: Tip 4 Report (4 pages)

Serial 12   Interview with Witness (2 pages)

Serial 13   Tip 5 – Misidentification (2 pages)

            Attachment: Tip 5 Report (4 pages)

Serial 14   Indictment (2 pages)

            Attachment: Indictment (5 pages)

Serial 15   Interview - Misidentification of Same Individual in Tip 5 (1 page)

Serial 16   Arrest Warrant Enter into NCIC (2 pages)

            Attachment: Arrest Warrant (2 pages)

Serial 17   Facebook Post Indicating Kenya (1 page)

            Attachment: Screenshot of Facebook Post Indicating Kenya (1 photo)




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TAYLOR JOHNATAKIS


Serial 1   Case Opening (2 pages)

Serial 2   CD containing two videos depicting BOLO-103 (1 page)

Serial 3   Tip 1 Received (3 pages) [S]

           Attachment: TTK Report for Tip 1 (4 pages) [S]

Serial 4   Interview of Tipster 1 (2 pages)

           Attachment: Video of Woman Shot (1 video)

           Attachment: Video – Break Down Door (1 video)

           Attachment: Email from Tipster 1 re BOLO – Misidentification (1 page)

           Email from Tipster 1 re Podcast (1 photo)

           Attachment: Screenshot – Bricks (1 photo)

           Attachment: Screenshot – Crime Complete (1 photo)

           Attachment: Screenshot – Saw Johnatakis in DC (1 photo)

           Attachment: Screenshot – Sardines (1 photo)

           Attachment: Screenshot – Lin Wood Pence Goes First (1 photo)

           Attachment: Screenshot – Rumble 1st Hand Account (1 photo)

           Attachment: Screenshot – Parler (1 photo)

           Attachment: Screenshot – Encouraged to Take Down (1 photo)

           Attachment: Screenshot – KD 1 (1 photo)

           Attachment: Screenshot – KD 2 (1 photo)

           Attachment: Screenshot – KD 3 (1 photo)

           Attachment: Screenshot – KD 4 (1 photo)

           Attachment: Screenshot – FB (1 photo)


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            Attachment: Video – 1st Hand Podcast (1 video file)

Serial 5    CD Containing Podcast Download

Serial 6    Tip 2 Received – Misidentification (3 pages) [S]

            Attachment: Report for Tip 2 - Misidentification (4 pages) [S]

Serial 7    TTK (2 pages) [S]

            Attachment: TTK Report (4 pages) [S]

Serial 8    Johnatakis Phone Interview (2 pages)

Serial 9    Twitter Preservation (1 page)

Serial 10   Google Preservation (1 page)

Serial 11   Gab AI (1 page)

Serial 12   TTK Reveals Tip 3 – Misidentification (3 pages) [S]

            Attachment: TTK Report for Tip 3 - Misidentification (3 pages) [S]

Serial 13   Search Warrant to Seize Phone (1 page)

            Attachment: Search Warrant for Phone (55 pages)

Serial 14   Tip 4 Received (1 page)

Serial 15   Interview of Tip 5 (2 pages)

Serial 16   Interview of Tip 1 (2 pages)

Serial 17   Interview of Tip 4 (2 pages)

            Attachment: Facebook Screenshot (1 page)

            Attachment: Facebook Screenshot – Bricks (1 photo)

            Attachment: DMV Information (2 pages) [HS]

            Attachment: Facebook Screenshot – Antifa (1 photo)

            Attachment: NCIC (8 pages) [HS]

            Attachment: Vehicle Information (2 pages) [HS]
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            Attachment: Woman Being Shot (1 video)

            Attachment: Various Social Media Screenshots (21 pages)

            Attachment: DL Info (1 page) [HS]

            Attachment: We Were Violent (1 video)

            Attachment: Guardian (10 pages) [HS]

Serial 18   Johnatakis Phone Seized (1 page)

Serial 19   Search Warrant Return – Phone (1 page)

            Attachment: Search Warrant Return (2 pages)

Serial 20   Cell phone search warrant signed (1 page)

            Cell phone search warrant (55 pages)

Serial 21   Email from Johnatakis About BOLO (1 page)

            Email (1 page)

Serial 22   Phone Transfer to WFO (2 pages)

Serial 23   Phone Seized (2 pages)

Serial 24   TTK FACES Request (1 page) [S]

            Attachment: FACES Request (2 pages) [S]

Serial 25   TTK FACE Search for BOLO 103 (1 page) [S]

            TTK FACES Report (66 pages) [S]

Serial 26   Tip 6 Received – Misidentification (3 pages)

            Attachment: Report for Tip 6 - Misidentification (4 pages)

Serial 27   Tip 7 Received – Misidentification (2 pages)

            Attachment: Tip 7 Report – Misidentification (4 pages)

            Attachment: Tip 7 Report – Misidentification Update (4 pages)

Serial 28   Interview of Johnatakis (3 pages)
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Serial 29   Tip 8 Received – Misidentification (3 pages)

            Attachment: Tip 8 Report – Misidentification (5 pages)

Serial 30   Tip 9 Received – Misidentification (4 pages)

            Attachment: Tip 9 Report – Misidentification (5 pages)

Serial 31   Tip 10 Received – Misidentification (4 pages)

            Attachment: Tip 10 Report – Misidentification (5 pages)

Serial 32   Tip 11 Received – Misidentification (3 pages)

            Attachment: Tip 11 Report – Misidentification (4 pages)

Serial 33   Tip 12 Received – Misidentification (2 pages)

            Attachment: Tip 12 Report – Misidentification (4 pages)

Serial 34   Tip 13 Received – Misidentification (3 pages)

            Attachment: Tip 13 Report – Misidentification (4 pages)

Serial 35   Tip 14 Received – Misidentification (3 pages)

            Attachment: Tip 14 Report – Misidentification (4 pages)

Serial 36   Indictment (2 pages)

            Attachment: Indictment (5 pages)

Serial 37   Tip 15 Received – Misidentification (3 pages)

            Attachment: Tip 15 Report – Misidentification (4 pages)

Serial 43   Surrender Arrangements (2 pages)

Serial 45   Podcast Review – 1st Hand Account…”

Serial 46   Tip 16 Received – Misidentification (2 pages)

            Attachment: Tip 16 Report – Misidentification (4 pages)

Serial 47   Twitter Search Warrant (1 page)

            Attachment: Twitter Sealing Order (11 pages)
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              Attachment: Twitter Search Warrant (40 pages)

 Serial 48    Facebook Search Warrant (1 page)

              Attachment: Facebook Sealing Order (11 pages)

              Attachment: Facebook Search Warrant (50 pages)

 Serial 49    Parler Search Warrant (1 page)

              Attachment: Parler Sealing Order (11 pages)

              Attachment: Parler Search Warrant (45 pages)

 Serial 50    ATT Search Warrant (1 page)

              Attachment: ATT Sealing Order (11 pages)

              Attachment: ATT Search Warrant (43 pages)

 Serial 51    Tip 17 Received – Misidentification (3 pages)

 Serial 52    Tip 18 Received – Misidentification (4 pages)

 Serial 53    Tip 19 Received – Misidentification (2 pages)

 Serial 59    Search Warrant Return Review (2 pages)

 Serial 62    Information Received from Tipster 1 (1 page)

 Serial 63    Information Received from Tipster 4 (1 page)

 Serial 64    Guardian (1 page) [HS]

              Attachment: Guardian (9 pages) [HS]


The discovery is unencrypted. Please contact me if you have any issues accessing the information,
and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.




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As indicated in my April 15, 2021 email, you should have received a link to download the BWC
in this case.

Attached to that email and uploaded to USAfx is a list of the BWC by officer. Thus far, we’ve
located 15 separate videos that capture your clients. The videos are quite lengthy, so I’ve included
some time stamps below to get you started.

The most helpful videos will be from the following officers’ cameras:

   1.   Livezey (starting at beginning of video, with assault occurring at minute 8:45),
   2.   Militar (starting at beginning of video, with assault occurring at minute 8),
   3.   Ishola (starting at minute 23), and
   4.   Toussaint (starting at beginning of video, with assault occurring at minute 10.

I recommend starting with Officer Livezey at minute 8:00 so that you can identify each of your
clients. Watching the remainder of the footage is much easier once you know who you’re looking
for. Along those lines, I’ve also attached a photo (Sturgeon (left), Bingert (middle), Johnatakis
(right)).

Time stamps for other videos:

Officer: McCloskey
Advance to: 20:49, 22:09

Officer: Lombardini
Advance to: 30:03, 30:10, 49:55

Officer: Jefferson
Advance to: 03:24, 04:38

Officer: Mullen
Advance to: 01:35:45, 01:37:06

Officer: Yarosis
Advance to: 01:35:45, 01:37:02

Officer: Tong
Advance to: 01:35:17, 01:36:49

Officer: 6DLOANER, BWC
Advance to: 25:39, 52:13

Officer: Roth
Advance to: 02:59

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Officer: Jimenez
Advance to: 08:11

Officer: Davis
Advance to: 01:27:05


Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government anticipates
that a large volume of materials may contain information relevant to this prosecution. These
materials may include, but are not limited to, surveillance video, statements of similarly situated
defendants, forensic searches of electronic devices and social media accounts of similarly situated
defendants, and citizen tips. The government is working to develop a system that will facilitate
access to these materials. In the meantime, please let me know if there are any categories of
information that you believe are particularly relevant to your client.

I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83 (1963),
its progeny, and Rule 16. I will provide timely disclosure if any such material comes to light.
Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about government
witnesses prior to trial and in compliance with the court’s trial management order.

I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules of
Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendants
disclose prior statements of any witnesses defendants intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendants with
materials relating to government witnesses.

Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I request that
defendants provide the government with the appropriate written notice if defendants plans to use
one of the defenses referenced in those rules. Please provide any notice within the time period
required by the Rules or allowed by the Court for the filing of any pretrial motions.




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I will forward additional discovery as it becomes available. If you have any questions, please feel
free to contact me.

                                             Sincerely,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney


                                      By:    /s/ Angela N. Buckner
                                             ANGELA N. BUCKNER
                                             Assistant United States Attorney
                                             D.C. Bar No. 1022880
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